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                   BEFORE THE UNITED STATES JUDICIAL PANEL ON
                           MULTIDISTRICT LITIGATION



    IN RE: DIGITAL ADVERTISING         )               MDL No. 3010
    ANTITRUST LITIGATION               )
                                       )
______________________________________ )



                  MEMORANDUM OF ADVERTISER PLAINTIFFS
        IN OPPOSITION TO MOTION FOR TRANSFER AND CENTRALIZATION

         The Advertiser Plaintiffs in In re Google Digital Advertising Antitrust Litigation,

No. 5:20-cv-03556, a proposed class action pending in the Northern District of California (the

“Digital Advertiser Case”), oppose Google’s1 motion for transfer and centralization (“Pet.”).

The Digital Advertiser Case was consolidated before U.S. District Judge Beth Labson Freeman in

the summer of 2020. This spring, Judge Freeman established a leadership structure along with

protocols for coordinating discovery and other matters with Publisher Plaintiffs in a parallel

consolidated class action, In re Google Digital Publisher Antitrust Litigation, No. 5:20-cv-8984.

See Digital Advertiser Case, No. 5:20-cv-03556, ECF Nos. 133, 134. The Court has directed the

Advertiser Plaintiffs to file a Second Amended Complaint following its May 13, 2021 decision on

Google’s motion to dismiss. Id., ECF No. 143.

         The other private cases not before Judge Freeman remain in their infancy, and transfer

could add months or years to the duration of the Digital Advertiser Case—which began months

before any other Google advertising antitrust case, in May 2020. The class litigation is

proceeding efficiently in the Northern District of California with separate but coordinated


1
    Movants Google LLC, Alphabet Inc. and YouTube, LLC are referred to collectively as “Google.”
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advertiser and publisher tracks. “It’s not an MDL because it’s only one district, but it’s a lot of

cases that have come together,” Judge Freeman noted. Id., ECF No. 119 (4/1/21 CMC Hr’g Tr.)

at 7. Bringing in another defendant, Facebook, would needlessly complicate this ongoing

litigation and the Panel should allow the consolidated antitrust class actions against Google to

proceed undisturbed.

I.     Centralization is unnecessary and could cause inefficiency.

       Centralization may be appropriate for cases involving common facts if it will be “for the

convenience of parties and witnesses” and “promote the just and efficient conduct” of the actions.

28 U.S.C. § 1407(a). Here, although there are common issues of fact among the tagged cases,2

centralization likely would not promote their just and efficient conduct.

       The cases brought against Google (and not Facebook) on behalf of advertisers who used

Google’s services to place display ads are already consolidated,3 with a plan in place to coordinate

closely with the Publisher Plaintiffs. Counsel have been acting on that plan, for example by

serving Google with joint document requests in April 2021. Judge Freeman appointed lead

counsel and steering committees for both the Advertiser and Publisher Plaintiffs, as well as a joint

discovery committee to coordinate between the two groups. See 20-cv-3556 (N.D. Cal.), ECF

Nos. 133, 134 & 20-cv-8984 (N.D. Cal.), ECF Nos. 74, 76. In addition to being coordinated,

these cases have made procedural headway. Most recently, the Court heard oral argument on

Google’s motion to dismiss the Digital Advertiser Case and issued an order granting that motion


2
 Google incorrectly asserts that advertisers have “multiple options” for placing display ads and a
“wide array of alternatives” to Google’s ad-tech products and services. Pet. at 2, 3. Just the
opposite is true: Google has acted to monopolize and now thoroughly controls this market.
3
 The Negron case is not part of the Digital Advertiser Case, as Judge Freeman deemed it
unrelated—the plaintiff there seeks to represent a class of Facebook advertisers. See N.D. Cal.
Case No. 21-cv-801, Compl. ¶ 131.

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with leave to amend. See 20-cv-3556 (N.D. Cal.), ECF No. 143.

       Google seeks to transfer cases that are at different stages, but the Panel has denied transfer

in these circumstances. See, e.g., In re Tyson Foods, Inc., Meat Processing Facilities Fair Labor

Standards Act (FLSA) Litig., 581 F. Supp. 2d 1374, 1375 (J.P.M.L. 2008) (declining to centralize

where “the actions are at somewhat different procedural stages”). The other private plaintiffs’

cases are well behind the Digital Advertiser Case. See Pet. at 16-17. While the State AG case is

more advanced than those cases, it too is in a different posture than the Digital Advertiser Case.

Combining all these actions would slow the progress of each. Hence in denying Google’s motion

to transfer the State AG case to California, the district court in the Eastern District of Texas found

that “the procedural posture of the proposed private class actions in the Northern District of

California undermines Google’s argument that judicial economy will necessarily be advanced by

transferring this case.” 20-cv-00957 (N.D. Tex.), ECF No. 121 at 15. The Court noted in part

that the need for class certification proceedings in the private actions would “introduce a

substantial risk of unnecessary delay” in the State AG case. Id. at 16.

       Similarly, progress in the Digital Advertiser Case would be slowed by transferring

antitrust cases that name Facebook as an additional defendant. See In re Invokana (Canagliflozin)

Prods. Liab. Litig., 223 F. Supp. 3d 1345, 1348 (J.P.M.L. 2016) (recognizing that “a multi-

defendant MDL may prolong pretrial proceedings”). There is little to be gained—and substantial

complication and uncertainty to be introduced—by transferring cases that add Facebook as a

defendant while also charging Google with monopolization, especially where the Google

monopoly cases on behalf of putative advertiser and publisher classes have been proceeding for

many months. See In re Provident Sec. Litig., 715 F. Supp. 2d 1356, 1357 (J.P.M.L. 2010)

(“[W]hatever benefits centralization would achieve do not outweigh the complications it could



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create.”). The Panel has also been disinclined to order centralization when, as here, multiple

parties oppose it. See, e.g., In re Women’s Clothing Antitrust Litig., 455 F. Supp. 1388, 1391

(J.P.M.L. 1978).

II.    Efficiencies can be achieved without section 1407 transfer.

       Moreover, the Panel has made clear that centralization “should be the last solution after

considered review of all other options.” In re Kmart Corp. Customer Data Sec. Breach Litig.,

109 F. Supp. 3d 1368, 1368-69 (J.P.M.L. 2015) (citation omitted). “These options include

transfer pursuant to 28 U.S.C. § 1404, as well as voluntary cooperation and coordination among

the parties and the involved courts to avoid duplicative discovery or inconsistent pretrial rulings.”

Id. at 1369; see also Federal Judicial Center, Manual for Complex Litigation § 20.14 (4th ed.

2004). “Relevant discovery already completed should ordinarily be made available to litigants in

the other cases” and there are “a variety of techniques to coordinate overlapping or duplicative

cases, such as establishing coordinated schedules for discovery and the filing and briefing of

motions.” Id. §§ 20.14, 21.15. Courts presiding in related cases may review each other decisions

and communicate directly. See, e.g., Nat’l Credit Union Admin. Bd. v. RBS Sec., Inc., No. CV 11-

5887, 2014 WL 12597071, at *1 (C.D. Cal. June 10, 2014) (noting that four Judges had

“conferred regarding possible coordination . . . to avoid duplicative litigation and/or inconsistent

pre-trial rulings” after the Panel denied transfer); Virginia Innovation Scis., Inc. v. Amazon.com,

Inc., No. 4:18-CV-474, 2019 WL 3082314, at *29 (E.D. Tex. July 15, 2019) (“Additionally, the

Court is well aware of the previous orders and can reduce any risk of inconsistent rulings”).

       There is no reason these methods of ensuring efficient case management cannot work in

the present situation. In fact, they are already occurring, with the Advertiser and Publisher

Plaintiffs productively coordinating. And the plaintiffs in most of the publisher opt-out cases are



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represented by the same law firm (Pet. at 7), which should ease further coordination. See In re

CP4 Fuel Pump Mktg., Sales Practices, & Prods. Liab. Litig., 412 F. Supp. 3d 1365, 1366

(J.P.M.L. 2019) (concluding that the risk of duplicative discovery or inconsistent rulings “is

further diminished in that plaintiffs in nine of the ten actions, as well as one of the two tag-alongs,

are represented by the same attorneys.”).

                                            CONCLUSION

       Accordingly, the Panel should deny Google’s Petition.


  Dated: May 26, 2021                   Respectfully submitted,

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